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    Debtors in Possession


                                   UNITED STATES BANKRUPTCY COURT
                                        DISTRICT OF NEW JERSEY


In re:                                                        Chapter 11

RITE AID COPORATION, et al.,                                  Case No. 23-18993 (MBK)

                                     Debtors. 1               (Joint Administration Requested)



                        DEBTORS’ MOTION FOR
                ENTRY OF AN ORDER (I) AUTHORIZING AND
        APPROVING PROCEDURES TO REJECT OR ASSUME EXECUTORY
    CONTRACTS AND UNEXPIRED LEASES AND (II) GRANTING RELATED RELIEF

TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:

           The above-captioned debtors and debtors in possession (collectively, the “Debtors”)

respectfully state the following in support of this motion (this “Motion”): 2


1     The last four digits of Debtor Rite Aid Corporation’s tax identification number are 4034. A complete list of the
      Debtors in these chapter 11 cases and each such Debtor’s tax identification number may be obtained on the
      website of the Debtors’ proposed claims and noticing agent at https://restructuring.ra.kroll.com/RiteAid.
      The location of Debtor Rite Aid Corporation’s principal place of business and the Debtors’ service address in
      these chapter 11 cases is 1200 Intrepid Avenue, 2nd Floor, Philadelphia, Pennsylvania 19112.
2     A detailed description of the Debtors and their businesses, including the facts and circumstances giving rise to
                                                                                                         (Continued)
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                                               Relief Requested

        1.        The Debtors seek entry of an order, substantially in the form attached hereto as

Exhibit A (the “Order”): (a) authorizing and approving procedures (as described herein,

the “Contract Procedures”) for rejecting, assuming, or assuming and assigning executory contracts

and unexpired leases (each a “Contract” and, collectively, the “Contracts”); and (b) granting

related relief.

        2.        The Debtors also request authority, but not direction, to remove or abandon

personal property of the Debtors, including, without limitation, equipment, fixtures, furniture, and

other personal property that may be located on, or have been installed in, leased premises that are

subject to a rejected Contract after the effective date of any proposed rejection.

                                           Jurisdiction and Venue

        3.        The United States Bankruptcy Court for the District of New Jersey (the “Court”)

has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Standing Order of

Reference to the Bankruptcy Court Under Title 11, entered July 23, 1984, and amended on

September 18, 2012 (Simandle, C.J.). The Debtors confirm their consent to the Court entering a

final order in connection with this Motion to the extent that it is later determined that the Court,

absent consent of the parties, cannot enter final orders or judgments in connection herewith

consistent with Article III of the United States Constitution.

        4.        Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

        5.        The bases for the relief requested herein are sections 105(a), 363, 365, and 554 of

title 11 of the United States Code (the “Bankruptcy Code”), rules 2002, 6004, 6006, and 6007 of


    the Debtors’ chapter 11 cases, is set forth in the Declaration of Jeffrey Stein in Support of Debtors’ Chapter 11
    Petitions    and    First    Day       Motions      (the “First Day Declaration”),    filed    contemporaneously
    herewith. Capitalized terms used but not defined in this motion have the meanings ascribed to them in the First
    Day Declaration.


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the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and rules 6004-1, 6007-1

and 9013-1 of the Local Bankruptcy Rules of the United States Bankruptcy Court for the District

of New Jersey (the “Local Rules”).

                                         Background

       6.     The Debtors, together with their non-Debtor affiliates (collectively, “Rite Aid” or

the “Company”), are on the front lines of delivering healthcare services and retail products to

millions of Americans daily. Founded in 1962 with a single discount drugstore in Scranton,

Pennsylvania, Rite Aid—and its over 45,000 employees—meet the fundamental consumer need

for pharmacy services across the country through two divisions. On the retail side, Rite Aid

employs more than 6,100 pharmacists and operates more than 2,100 retail pharmacy locations in

17 states. Through Elixir, the Company manages pharmacy benefits for more than one million

members via accredited mail and specialty pharmacies, prescription discount programs, and an

industry-leading claim adjudication platform. Headquartered in Philadelphia, Pennsylvania, Rite

Aid Corporation is publicly held with its common stock trading on the New York Stock Exchange

under the trading symbol, “RAD.”

       7.     On October 15, 2023 (the “Petition Date”), each Debtor filed a voluntary petition

for relief under chapter 11 of the Bankruptcy Code. The Debtors are operating their business and

managing their properties as debtors in possession pursuant to sections 1107(a) and 1108 of the

Bankruptcy Code. Concurrent with the filing of this Motion, the Debtors filed a motion requesting

procedural consolidation and joint administration of these chapter 11 cases. No request for the

appointment of a trustee or examiner has been made in these chapter 11 cases, and no official

committees have been appointed or designated.




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                    The Debtors’ Executory Contracts and Unexpired Leases

       8.      The Debtors are party to thousands of Contracts, which include agreements with

vendors for the supply of goods and services and other contracts related to the Debtors’ business,

and leases with respect to real and personal property, many of which may be considered

nonresidential real property leases subject to section 365(d)(4) of the Bankruptcy Code. During

the pendency of these chapter 11 cases, the Debtors may, on a consensual or non-consensual basis,

seek to assume, assume and assign, or reject the Contracts.

       9.      The Debtors are in the process of evaluating all of their Contracts to determine

whether such Contracts should be (a) rejected as unfavorable to the Debtors or no longer beneficial

for business operations, or (b) assumed or assumed and assigned, as they are favorable or otherwise

valuable to the Debtors’ estates, including those Contracts to be assumed as amended through

consensual negotiations with the relevant counterparties. Absent the relief requested in this

Motion, the Debtors would be required to file separate motions to reject or assume individual

Contracts, resulting in substantial costs to, and administrative burdens on, the Debtors’ estates—

not to mention the attendant burden on the Court’s docket. To that end, and for the reasons

discussed further herein, the Debtors hereby request approval of the assumption and rejection

procedures contemplated hereby to minimize such costs and burdens.

                              The Proposed Rejection Procedures

       10.     The Debtors seek entry of the Order authorizing and approving the following

procedures with respect to rejection of the Contracts (the “Rejection Procedures”):

               a.      Rejection Notice. The Debtors, upon not less than three business days’
                       advance notice to counsel to the Ad Hoc Secured Noteholder Group, absent
                       exigent circumstances that require shorter notice in the Debtors’ reasonable
                       discretion, shall file a notice substantially in the form attached to the Order
                       as Exhibit 1 (the “Rejection Notice”) indicating the Debtors’ intent to reject
                       a Contract or Contracts pursuant to section 365 of the Bankruptcy Code,
                       which Rejection Notice shall set forth, among other things: (i) the Contract

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                         or Contracts to be rejected; (ii) the names and addresses of the
                         counterparties to such Contract(s) (each a “Rejection Counterparty”);
                         (iii) the proposed effective date of the rejection for each such Contract (each
                         a “Rejection Date”); (iv) if any such Contract is a lease, the personal
                         property to be abandoned (the “Abandoned Property”), if any, and, if
                         practicable, an estimate of the book value of such property; and (v) the
                         deadlines and procedures for filing objections to the Rejection Notice (as
                         set forth below). The Rejection Notice may list multiple Contracts;
                         provided that the number of counterparties to Contracts listed on the
                         Rejection Notice shall be limited to no more than 100, and the Rejection
                         Counterparties shall be listed in alphabetical order.

                 b.      Service of the Rejection Notice. No later than two business days after
                         filing, or as soon as reasonably practicable thereafter, the Debtors will cause
                         the Rejection Notice to be served (i) by overnight delivery service upon the
                         Rejection Counterparties affected by the Rejection Notice at the notice
                         address provided in the applicable Contract (and their counsel, if known)
                         and all parties who may have any interest in any Abandoned Property
                         (if known), and (ii) by first class mail, email, or fax upon: (a) the office of
                         the United States Trustee for the District of New Jersey; (b) the Debtors’ 50
                         largest unsecured creditors (on a consolidated basis); (c) the agents under
                         the Prepetition Credit Facilities and counsel thereto; (d) the DIP Agents and
                         counsel thereto; (e) counsel to the Ad Hoc Secured Noteholder Group;
                         (f) the indenture trustee to the Senior Secured Notes; (g) the indenture
                         trustee to the Senior Unsecured Notes; (h) the United States Attorney’s
                         Office for the District of New Jersey; (i) the Internal Revenue Service;
                         (j) the U.S. Securities and Exchange Commission; (k) the attorneys general
                         in the states where the Debtors conduct their business operations; (l) the
                         parties affected by the Rejection Notice at the notice party provided in the
                         applicable Contract (and by email upon such Rejection Counterparty’s
                         counsel, if known); and (m) any party that has requested notice pursuant to
                         Bankruptcy Rule 2002 (collectively, the “Service Parties”).

                 c.      Objection Procedures. Parties objecting to a proposed rejection must file
                         and serve a written objection 3 so that such objection is filed with the Court
                         and is actually received by the following parties (collectively,
                         the “Objection Service Parties”) no later than seven days after the date the
                         Debtors serve the applicable Rejection Notice (the “Rejection Objection
                         Deadline”): (a) the Debtors, Rite Aid Corporation, 1200 Intrepid Avenue,
                         2nd Floor, Philadelphia, Pennsylvania 19112; (b) proposed counsel to the
                         Debtors, Kirkland & Ellis LLP, 601 Lexington Avenue, New York, New
                         York 10022, Attn: Joshua A. Sussberg, P.C., Aparna Yenamandra, P.C.,
                         Ross J. Fiedler, and Zachary R. Manning; (c) proposed co-counsel to the

3   An objection to the rejection of any particular Contract listed on a Rejection Notice shall not constitute an
    objection to the rejection of any other Contract listed on such Rejection Notice.


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                    Debtors, Cole Schotz P.C., Court Plaza North, 25 Main Street, Hackensack,
                    New Jersey 07601, Attn: Michael D. Sirota, Felice R. Yudkin, and Seth
                    Van Aalten; (d) counsel to the Ad Hoc Secured Noteholder Group, Paul,
                    Weiss, Rifkind, Wharton & Garrison LLP, 1285 Avenue of the Americas,
                    New York, New York 10014, Attn: Andrew N. Rosenberg, Brian S.
                    Hermann, and Christopher Hopkins; (e) counsel to the Ad Hoc Secured
                    Noteholder Group, Fox Rothschild LLP, 49 Market Street, Morristown,
                    New Jersey 07960, Attn: Howard A. Cohen (hcohen@foxrothschild.com);
                    Joseph J. DiPasquale (jdipasquale@foxrothschild.com) and Michael R.
                    Herz (mherz@foxrothschild.com); (f) counsel to the DIP Agents, Choate,
                    Hall & Stewart LLP, Two International Place, Boston, MA 02110,
                    Attn: John F. Ventola (jventola@choate.com); Jonathan D. Marshall
                    (jmarshall@choate.com); and Mark D. Silva (msilva@choate.com) and
                    Greenberg Traurig, LLP, 500 Campus Drive, Suite 400, Florham Park, New
                    Jersey 07932, Attn: Alan J. Brody (brodya@gtlaw.com) and Oscar N.
                    Pinkas (pinkaso@gtlaw.com) (g) the Office of the United States Trustee for
                    the District of New Jersey, One Newark Center, 1085 Raymond Boulevard,
                    suite 2100, Newark, New Jersey 07102, Attn:              Lauren Bielskie
                    (lauren.bielskie@usdoj.gov); and (h) counsel to the official committee of
                    unsecured creditors (if any) appointed in these chapter 11 cases
                    (collectively, the “Objection Service Parties”).

           d.       No Objection Timely Filed. If no objection to the rejection of any Contract
                    is timely filed, each Contract listed in the applicable Rejection Notice shall
                    be rejected as of the applicable Rejection Date set forth in the Rejection
                    Notice or such other date as the Debtors and the applicable Rejection
                    Counterparty agree; provided that the Rejection Date for a rejection of a
                    lease of nonresidential real property shall not occur until the later of (i) the
                    Rejection Date set forth in the Rejection Notice and (ii) the date the Debtors
                    relinquish control of the premises by notifying the affected landlord in
                    writing of the Debtors’ surrender of the premises and (A) turning over keys,
                    key codes, and security codes, if any, to the affected landlord or
                    (B) notifying the affected landlord in writing that the keys, key codes, and
                    security codes, if any, are not available, but the landlord may rekey the
                    leased premises; provided, further, that the Rejection Date for a rejection of
                    a lease of nonresidential real property rejected pursuant to these Rejection
                    Procedures shall not occur earlier than the date the Debtors filed and served
                    the applicable Rejection Notice.

           e.       Unresolved Timely Objections. If an objection to the rejection of any
                    Contract(s) listed in the applicable Rejection Notice is timely filed and
                    properly served as specified above and not withdrawn or consensually
                    resolved, the Debtors shall file a notice for a hearing to be held on not less
                    than five days’ notice to the applicable Rejection Counterparty to consider
                    the objection for the Contract(s) to which such objection relates. If such
                    objection is overruled or withdrawn, such Contract(s) shall be rejected as of
                    (i) the applicable Rejection Date set forth in the Rejection Notice, (ii) such
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                    other date as the Debtors and the applicable Rejection Counterparty agree,
                    or (iii) such other date as the Court may so order.

           f.       No Application of Security Deposits. If the Debtors have deposited monies
                    with a Rejection Counterparty as a security deposit or other arrangement,
                    such Rejection Counterparty may not setoff, recoup, or otherwise use such
                    monies without further order of the Court, unless the Debtors and the
                    applicable Rejection Counterparty to such Contract(s) otherwise agree.

           g.       Abandoned Property. The Debtors are authorized, but not directed, at any
                    time on or before the applicable Rejection Date, to remove or abandon any
                    of the Debtors’ personal property that may be located on the Debtors’ leased
                    premises that are subject to a rejected Contract. If the Debtors decide to
                    abandon any personal property, the Debtors shall generally describe the
                    abandoned personal property in the Rejection Notice. Absent a timely
                    objection, the property will be deemed abandoned pursuant to section 554
                    of the Bankruptcy Code, as is, effective as of the Rejection Date. For the
                    avoidance of doubt, any and all property located on the Debtors’ leased
                    premises on the Rejection Date of the applicable lease of nonresidential real
                    property shall be deemed abandoned pursuant to section 554 of the
                    Bankruptcy Code, as is, effective as of the Rejection Date. Landlords may,
                    in their sole discretion and without further notice or order of this Court,
                    utilize and/or dispose of such property without liability to the Debtors or
                    third parties and, to the extent applicable, the automatic stay is modified to
                    allow such disposition.

           h.       Proofs of Claim. Claims arising out of the rejection of Contracts, if any,
                    must be filed in accordance with the Plan on or before the later of (i) the
                    deadline for filing proofs of claim established in these chapter 11 cases, if
                    any, and (ii) thirty days after the later of (A) if no objection is timely filed,
                    the Rejection Objection Deadline, and (B) if an objection is timely filed, the
                    date that all such filed objections have either been overruled or withdrawn.
                    If no proof of claim is timely filed, such claimant shall be forever barred
                    from asserting a claim for damages arising from the rejection and from
                    participating in any distributions on such a claim that may be made in
                    connection with these chapter 11 cases.

           i.       Removal from the Rejection Notice. The Debtors reserve the right to
                    remove any Contract from the schedule to a Rejection Notice at any time
                    prior to the Rejection Date.




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                                The Proposed Assumption Procedures

        11.      The Debtors seek entry of the Order authorizing and approving the following

assumption procedures with respect to assumption of the Contracts (the “Assumption Procedures”

and together with the Rejection Procedures, collectively, the “Contract Procedures”):

                 a.      Assumption Notice. The Debtors, upon not less than three business days’
                         advance notice to counsel to the Ad Hoc Secured Noteholder Group, absent
                         exigent circumstances that require shorter notice in the Debtors’ reasonable
                         discretion, shall file a notice substantially in the form attached to the Order
                         as Exhibit 2 (the “Assumption Notice”) indicating the Debtors’ intent to
                         assume or assume and assign a Contract or Contracts pursuant to section
                         365 of the Bankruptcy Code, which shall set forth, among other things:
                         (i) the Contract or Contracts to be assumed or assumed and assigned;
                         (ii) the names and addresses of the counterparties to such Contract(s) (each
                         an “Assumption Counterparty”); (iii) the identity of the proposed assignee
                         of such Contracts (the “Assignee”), if applicable; (iv) the proposed effective
                         date of the assumption for each such Contract (the “Assumption Date”);
                         (v) the proposed cure amount, if any, for each such Contract;
                         (vi) a description of any material amendments to the Contract made outside
                         of the ordinary course of business; and (vii) the deadlines and procedures
                         for filing objections to the Assumption Notice (as set forth below). The
                         Assumption Notice may list multiple Contracts; provided that the number
                         of counterparties to Contracts listed on the Assumption Notice shall be
                         limited to no more than 100, and the Assumption Counterparties shall be
                         listed in alphabetical order.

                 b.      Service of the Assumption Notice and Evidence of Adequate Assurance.
                         No later than two business days after filing, or as soon as reasonably
                         practicable thereafter, the Debtors will cause the Assumption Notice to be
                         served (i) by overnight delivery service upon the Assumption
                         Counterparties affected by the Assumption Notice and each Assignee, if
                         applicable, at the address set forth in the notice provision of the applicable
                         Contract (and their counsel, if known) and (ii) by first class mail, email, or
                         fax upon the Service Parties. 4 To the extent the Debtors seek to assume and
                         assign a lease of non-residential real property, the Debtors will cause
                         evidence of adequate assurance of future performance to be served with the
                         Assumption Notice by overnight delivery service upon the Contract
                         counterparties affected by the Assumption Notice at the address set forth in
                         the notice provision of the applicable Contract (and their counsel, if known,


4
    The Debtors shall serve a counterparty to a Contract to be assumed under the Contract Procedures with evidence
    of adequate assurance upon such counterparty’s written request to the Debtors’ proposed counsel.


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                          by electronic mail).

                 c.       Objection Procedures. Parties objecting to a proposed assumption or
                          assumption and assignment (including as to the cure amount), as applicable,
                          of a Contract must file and serve a written objection 5 so that such objection
                          is filed with the Court and actually received by the Objection Service
                          Parties no later than seven days after the date the Debtors serve the relevant
                          Assumption Notice (the “Assumption Objection Deadline”).

                 d.       No Objection. If no objection to the assumption or assumption and
                          assignment of any Contract is timely filed, each Contract shall be assumed
                          or assumed and assigned as of the Assumption Date set forth in the
                          applicable Assumption Notice or such other date as the Debtors and the
                          Assumption Counterparties agree and the proposed cure amount shall be
                          binding on all counterparties to such Contract and no amount in excess
                          thereof shall be paid for cure purposes; provided that the Assumption Date
                          for a lease of nonresidential real property shall not occur earlier than the
                          date the Debtors filed and served the applicable Assumption Notice.

                 e.       Unresolved Timely Objections. If an objection to the assumption or
                          assumption and assignment of any Contract(s) is timely filed and properly
                          served as specified above and not withdrawn or consensually resolved, the
                          Debtors shall file a notice for a hearing to be held on not less than five days’
                          notice to the applicable Assumption Counterparty to consider the objection
                          for the Contract(s) to which such objection relates. The Debtors may
                          adjourn the hearing to a later date from time to time upon filing an amended
                          notice of hearing. If such objection is overruled or withdrawn, such
                          Contract(s) shall be assumed or assumed and assigned as of the Assumption
                          Date set forth in the Assumption Notice or such other date as the Debtors
                          and the counterparty or counterparties to such Contract(s) agree.

                 f.       Modifications of Assumption Notice. The Debtors reserve the right to
                          remove any Contract from an Assumption Notice at any time prior to the
                          Assumption Date (including, without limitation, upon the failure of any
                          proposed assumption and assignment to close).

        12.      In addition, pursuant to sections 105(a) and 363(f) of the Bankruptcy Code, the

Debtors request that the assignment of any Contract pursuant to the Assumption Procedures:

(a) be free and clear of (i) all liens (and any liens shall attach to the proceeds in the same order and

priority subject to all existing defenses, claims, setoffs, and rights), and (ii) any and all claims


5   An objection to the assumption of any particular Contract listed on the Assumption Notice shall not constitute an
    objection to the assumption of any other Contract listed on such Assumption Notice.


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(as that term is defined in section 101(5) of the Bankruptcy Code), obligations, demands,

guarantees of or by the Debtors, debts, rights, contractual commitments, restrictions, interests, and

matters of any kind and nature, whether arising prior to or subsequent to the commencement of

these chapter 11 cases, and whether imposed by agreement, understanding, law, equity, or

otherwise (including, without limitation, claims, and encumbrances that purport to give to any

party a right or option to effect any forfeiture, modification, or termination of the interest of any

Debtor or Assignee, as the case may be, in the Contract(s) (but only in connection with the

assignment by the Debtor to the Assignee)), provided that any such assignment shall not be free

and clear of any accrued but unbilled or not due rent and charges under a lease of non-residential

real property, including adjustments, reconciliations, and indemnity obligations, liability for which

shall be assumed or assumed and assigned by the Debtors or the applicable Assignee, as agreed by

and among the Debtors and the applicable Assignee; and (b) constitutes a legal, valid, and effective

transfer of such Contract(s) and vests the applicable Assignee with all rights, titles, and interests

to the applicable Contract(s). 6 For the avoidance of doubt, all provisions of the applicable assigned

Contract, including any provision limiting assignment, shall be binding on the applicable Assignee.

                                                 Basis for Relief

I.       The Contract Procedures Are in the Best Interests of the Debtors’ Estates.

         13.      Given the large number of Contracts to which the Debtors are a party, establishing

the Contract Procedures will streamline the administration of these chapter 11 cases and enhance

the efficiency of the reorganization process by eliminating substantial legal expenses that would

otherwise be incurred if multiple hearings were held on separate motions with respect to every



6
     Certain of the Contracts may contain provisions that restrict, prohibit, condition, or limit the assumption and/or
     assignment of such Contract. The Debtors reserve the right to argue that such clauses are unenforceable as
     anti-assignment or ipso facto clauses under section 365 of the Bankruptcy Code.

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Contract that the Debtors seek to assume or reject. The Contract Procedures are reasonable and

fair to Contract counterparties because they afford parties in interest the opportunity to be heard

with respect to the rejection, assumption, or assumption and assignment of the Contracts (and any

amendments to Contracts or abandonment of property related thereto).

          14.      Courts in this circuit often enter orders approving similar relief as requested in this

Motion. See, e.g., In re David’s Bridal, LLC, No. 23-12131 (CMG) (Bankr. D.N.J. May 18, 2023)

(entering an order for procedures to reject executory contracts and unexpired leases); In re Bed

Bath & Beyond Inc., No. 23-13359 (VPF) (Bankr. D.N.J. May 17, 2023) (same); In re L’Occitane,

Inc., No. 21-10632 (MBK) (Bankr. D.N.J Jan. 28, 2021) (same); In re Alex and Ani, LLC,

No. 21-10918 (CTG) (Bankr. D. Del. July 16, 2021) (same); In re Bluestem Brands, Inc. No. 20-

10566 (MFW) (Bankr. D. Del. April 13, 2020) (same). 7

II.       Rejection, Assumption, Assignment, and Amendment of the Contracts Is an Exercise
          of the Debtors’ Business Judgment.

          15.      Section 365(a) of the Bankruptcy Code provides that a debtor in possession,

“subject to the court’s approval, may assume or reject any executory contract or unexpired lease

of the debtor.” 11 U.S.C. § 365(a). The ability to assume or reject executory contracts and

unexpired leases is “vital to the basic purpose of a Chapter 11 reorganization, because rejection

can release the debtor’s estate from burdensome obligations that can impede a successful

reorganization.” N.L.R.B. v. Bildisco and Bildisco, 465 U.S. 513, 528 (1984). The decision to

assume or reject an executory contract or unexpired lease is a matter within the “business

judgment” of the debtor. See, e.g., Stewart Title Guar. Co. v. Old Republic Nat’l Title Ins. Co., 83

F.3d 735, 741 (5th Cir. 1996); see also Nat’l Labor Relations Bd. v. Bildisco and Bildisco (In re


7     Because of the voluminous nature of the orders cited herein, such orders have not been attached to this Motion.
      Copies of these orders are available upon request of the Debtors’ proposed counsel.


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Bildisco), 682 F.2d 72, 79 (3d Cir. 1982) (“The usual test for rejection of an executory contract is

simply whether rejection would benefit the estate, the ‘business judgment’ test.” (citation

omitted)). The business judgment standard mandates that a court approve a debtor’s business

decision unless the decision is the product of bad faith, whim, or caprice. See Lubrizol Enters.,

Inc. v. Richmond Metal Finishers, 756 F.2d 1043, 1047 (4th Cir. 1985), cert, denied, 475 U.S.

1057 (1986).

       16.     The Court may also authorize the Contract Procedures under section 105(a) of the

Bankruptcy Code. Section 105(a) codifies a bankruptcy court’s inherent equitable powers, and

allows the Court to “issue any order, process, or judgment that is necessary or appropriate to carry

out the provisions of this title.” 11 U.S.C. § 105(a). Accordingly, a bankruptcy court’s exercise

of its authority under section 105(a) of the Bankruptcy Code is appropriately used to carry out one

of the central policies underlying chapter 11—i.e., to preserve value and maximize property

available to satisfy the debtor’s stakeholders.

       17.     Courts generally will not second-guess a debtor’s business judgment concerning

the assumption or rejection of an executory contract or unexpired lease. Further, the business

judgment standard is satisfied when a debtor determines that assumption or rejection will benefit

the estate. See In re Trans World Airlines, Inc., No. 01-0056, 2001 Bankr. LEXIS 722, at *7–8

(Bankr. D. Del. Mar. 16, 2001) (noting that the standard under section 365 requires consideration

of the benefit of the rejection to the debtor’s estate); see also In re TS Indus., Inc., 117 B.R. 682,

685 (Bankr. D. Utah 1990); In re Del Grosso, 115 B.R. 136, 138 (Bankr. N.D. Ill. 1990).

       18.     Further, as with the assumption or rejection of an executory contract or an

unexpired lease under section 365, any amendment to an executory contract or unexpired lease

that may be deemed outside the ordinary course of business is authorized under section 363 of the


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Bankruptcy Code when there is a “sound business purpose” that justifies such action. See In re

Borders Grp. Inc., 453 B.R. 477, 482 (Bankr. S.D.N.Y. 2011) (“In approving a transaction

conducted pursuant to section 363(b)(1), courts consider whether the debtor exercised sound

business judgment.”); see also Crystalin, LLC v. Selma Props. Inc. (In re Crystalin, LLC), 293

B.R. 455, 463 (B.A.P. 8th Cir. 2003); Comm. of Equity Sec. Holders v. Lionel Corp. (In re Lionel

Corp.), 722 F.2d 1063, 1070 (2d Cir. 1983); see also In re Delaware and Hudson Ry. Co., 124

B.R. 169, 176 (Bankr. D. Del. 1991) (noting that the Third Circuit has adopted the “sound business

judgment” standard for transactions under section 363 of the Bankruptcy Code).

        19.     The Debtors have determined, in their sound business judgment, that the rejection,

assumption, or assumption and assignment (and any amendments thereto) of Contracts in

accordance with the Contract Procedures proposed herein is and will be in the best interest of the

Debtors’ estates. Further, the Contract Procedures will avoid substantial legal expense and the use

of Court time that would result if a motion were filed and a hearing held for every motion seeking

the rejection, assumption, or assumption and assignment of Contracts. The information provided

on the Rejection Notices and Assumption Notices will provide the Court and interested parties

with sufficient information to establish that the Debtors are entitled to make such a rejection,

assumption, or assumption and assignment (and any amendments thereto) in their sound business

judgment. Accordingly, the Debtors respectfully request that the Court approve the Contract

Procedures.

III.    The Debtors Should Be Permitted to Assign Contracts Free and Clear of Interests.

        20.     Section 363(f) of the Bankruptcy Code permits a debtor to sell property free and

clear of another party’s interest in such property if: (a) applicable nonbankruptcy law permits a

free and clear sale; (b) the holder of the interest consents; (c) the interest is a lien and the sale price


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of the property exceeds the value of all liens on the property; (d) the interest is in bona fide dispute;

or (e) the holder of the interest could be compelled in a legal or equitable proceeding to accept a

monetary satisfaction of its interest. 11 U.S.C. § 363(f).

          21.   Executory contracts and unexpired leases are property of a debtor’s estate. To the

extent the Debtors assume and assign a Contract pursuant to the Assumption Procedures, such

assignment is tantamount to a sale of estate property and may be transferred free and clear of the

interests in such property held by an entity other than the estate, so long as one of the criteria under

section 363(f) of the Bankruptcy Code is satisfied. The Debtors propose that if a party in interest

fails to timely object to an assumption and assignment consistent with the Assumption Procedures,

such party shall be deemed to “consent” to such assumption and assignment within the meaning

of section 363(f)(2) of the Bankruptcy Code. If a party in interest timely objects to an assumption

and assignment consistent with the Assumption Procedures, and such objection is not withdrawn

or resolved, the Debtors shall request the Court set a hearing on same to consider the objection; if

such objection is overruled or withdrawn, the Contract(s) in question shall be assumed. The

requirements of section 363(f) of the Bankruptcy Code would thus be satisfied for any proposed

“transfer” of a Contract free and clear of liens, claims, encumbrances, and other interests.

          22.   Courts have granted similar authority. See, e.g., In re Cyxtera Technologies, Inc.,

No. 23-14853 (Bankr. D.N.J. June 29, 2023) (authorizing the assignment of contracts and leases

free and clear of liens and claims); In re Bon Ton Stores, Inc., No. 18-10248 (Bankr. D. Del. Aug.

30, 2018) (same); In re Magnum Hunter Resources Corporation, No. 15-12533 (Bankr. D. Del.

Jan. 7, 2016) (same); In re Specialty Retail Shops Holding Corp., No. 19-80064 (Bankr. D. Neb.

Jan. 16, 2019) (same); In re Eastman Kodak Co., No. 12-10202 (Bankr. S.D.N.Y. April 4, 2012)

(same).


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IV.    Abandonment of Personal Property Is in the Best Interests of the Debtors’ Estates.

       23.     With respect to the Debtors’ request for authority to abandon property, the Debtors

submit that the standard set forth in section 554(a) of the Bankruptcy Code is satisfied.

Section 554(a) provides that a debtor in possession may abandon, subject to court approval,

“property of the estate that . . . is of inconsequential value and benefit to the estate.”

11 U.S.C. § 554(a). Before authorizing abandonment of property, a bankruptcy court must find

that either:   (a) the property is burdensome to the estate; or (b) the property is both of

inconsequential value and inconsequential benefit to the estate. See, e.g., Midlantic Nat’l Bank v.

N.J. Dep’t of Envtl. Prot., 474 U.S. 494, 497 (1986); Matter of Boogaard, 89 B.R. 397, 397 (Bankr.

D. Del. 1988); In re Pilz Compact Disc, Inc., 229 B.R. 630, 635 (Bankr. E.D. Pa. 1999). The

personal property proposed to be abandoned in connection with any future rejections of Contracts

that are real property leases would primarily consist of fixtures, furniture, advertising displays, and

other office and store equipment that could not be liquidated in the store closing sales and is

(a) of minimal or no material value or benefit to the Debtors’ estates and/or (b) burdensome insofar

as the costs and expenses of removal and storage of such property are likely to exceed the net

proceeds realizable from their sale.

V.     The Contract Procedures Satisfy Due Process.

       24.     The Contract counterparties will not be prejudiced by the Contract Procedures

because, upon receipt of an Assumption Notice or a Rejection Notice, such counterparties will

have received advance notice of the Debtors’ intent to reject, assume, or assume and assign their

respective Contract and of the effective date of such assumption or rejection. See, e.g., In re Thane

Int’l, Inc., 586 B.R. 540, 548 (Bankr. D. Del. 2018) (finding that the requirements of the

Bankruptcy Code are meant to protect the interests of the non-debtor parties to executory contracts,


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so they may avoid having to deal with an assumption of which they had no notice and which they

had no opportunity to contest); In re Mid Region Petrol. Inc., 111 B.R. 968, 970 (Bankr. N.D.

Okla. 1990) (holding effective date of rejection of leases was the date the trustee gave notice to

lessor of intent to reject), aff’d, 1 F.3d 1130 (10th Cir. 1993); In re Carlisle Homes, Inc., 103 B.R.

524, 535 (Bankr. D.N.J. 1988) (finding debtor may reject executory contract by clearly

communicating intention to reject).

       25.     Additionally, in the case of unexpired leases of non-residential real property, the

Debtors will likely vacate the premises before or upon serving the Rejection Notice, thereby

allowing the counterparties to take possession of and relet the property promptly.

See, e.g., Adelphia Bus. Solutions, Inc. v. Abnos, 482 F.3d 602, 608-09 (2d Cir. 2007) (holding that

bankruptcy court did not abuse its discretion in finding balance of equities favored making

rejection of a non-residential lease of real property retroactive to date tenant vacated premises, as

tenant’s action provided landlord with opportunity to relet premises); In re New Valley Corp, No.

98-982, 2000 U.S. Dist. LEXIS 12663, at *44-46 (D.N.J. Aug. 31, 2000) (holding that bankruptcy

court properly exercised its discretion in adjusting the effective date of rejection from the date the

court signed the order authorizing rejection to the date on which the debtor vacated and the landlord

exercised control over the property); In re Amber’s Stores, Inc., 193 B.R. 819, 827 (Bankr. N.D.

Tex. 1996) (holding that lease at issue should be deemed rejected as of the petition date due to

equities of the case where debtor turned over keys and vacated premises and served motion to

reject lease as soon as possible).

       26.     As a procedural matter, “[a] proceeding to assume, reject, or assign an executory

contract or unexpired lease . . . is governed by Rule 9014.”            Bankruptcy Rule 6006(a).

Bankruptcy Rule 9014 provides that: “[i]n a contested matter . . . , not otherwise governed by


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these rules, relief shall be requested by motion, and reasonable notice and opportunity for hearing

shall be afforded the party against whom relief is sought.” Bankruptcy Rule 9014(a). The notice

and hearing requirements for contested matters under Bankruptcy Rule 9014 are satisfied if

appropriate notice and an opportunity for hearing are given in light of the particular circumstances.

See 11 U.S.C. § 102(1)(A) (defining “after notice and a hearing” or a similar phrase to mean such

notice and an opportunity for hearing “as [are] appropriate in the particular circumstances”).

       27.         Under Bankruptcy Rule 6006(f), a debtor may join requests for authority to assume

or reject multiple executory contracts or unexpired leases in one motion, subject to Bankruptcy

Rule 6006(e). Bankruptcy Rule 6006(f) sets forth six requirements that motions to assume or

reject multiple executory contracts or unexpired leases must satisfy. These requirements are

procedural in nature. A motion to assume or reject multiple executory contracts or unexpired

leases that are not between the same parties shall:

               i.         state in a conspicuous place that parties receiving the omnibus motion
                          should locate their names and their contracts or leases listed in the motion;

              ii.         list parties alphabetically and identify the corresponding contract or lease;

             iii.         specify the terms, including the curing of defaults, for each requested
                          assumption or assignment;

             iv.          specify the terms, including the identity of each assignee and the adequate
                          assurance of future performance by each assignee, for each requested
                          assignment;

              v.          be numbered consecutively with other omnibus motions to assume, assign,
                          or reject executory contracts or unexpired leases; and

             vi.          be limited to no more than 100 executory contracts or unexpired leases.

Bankruptcy Rule 6006(f).

       28.      The clear purpose of Bankruptcy Rule 6006(f), as amended, is to protect the due

process rights of counterparties to the Contracts while conserving estate resources. Counterparties


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must be able to locate their Contracts and readily determine whether their Contracts are being

assumed or rejected.

       29.     The     Contract   Procedures    satisfy   Bankruptcy    Rule    6006(f),    including

the 100-contract or lease limit set forth in subsection (vi) thereof. Further, given the substantial

number of Contracts the Debtors will be seeking to assume, assume and assign, or reject, obtaining

Court approval of each assumption, assignment, or rejection would impose unnecessary

administrative burdens on the Debtors and the Court and result in costs to the Debtors’ estates that

may decrease the economic benefits of rejection or assumption or assumption and assignment.

       30.     In accordance with Bankruptcy Rule 6007(a), the Debtors will provide the United

States Trustee for the District of New Jersey and other parties in interest with the requisite notice

and an opportunity to object to any proposed abandonment of property.

       31.     As a result, the Contract Procedures afford Contract counterparties and all other

parties in interest their due process rights by providing notice and the opportunity to be heard.

Moreover, Court oversight is maintained in the event of an objection. For the foregoing reasons,

the Contract Procedures should be approved, and the Debtors should be authorized to reject,

assume, and assume and assign the Contracts consistent with the terms of such procedures.

       32.     In sum, the Contract Procedures will minimize costs to the Debtors’ estates and

reduce the burden on the Court’s docket while protecting parties in interest by providing notice

and the opportunity to object and obtain a hearing. The Debtors have determined that the Contract

Procedures are an appropriate means to protect and maximize the value of the Debtors’ estates.

                        Waiver of Bankruptcy Rule 6004(a) and 6004(h)

       33.     To implement the foregoing successfully, the Debtors seek a waiver of the notice

requirements under Bankruptcy Rule 6004(a) and the 14-day stay of an order authorizing the use,

sale, or lease of property under Bankruptcy Rule 6004(h).
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                                Waiver of Memorandum of Law

       34.     The Debtors respectfully request that the Court waive the requirement to file a

separate memorandum of law pursuant to Local Rule 9013-1(a)(3) because the legal basis upon

which the Debtors rely is set forth herein and the Motion does not raise any novel issues of law.

                                      Reservation of Rights

       35.     Nothing contained in this motion or any order granting the relief requested in this

motion, and no action taken pursuant to the relief requested or granted (including any payment

made in accordance with any such order), is intended as or shall be construed or deemed to be:

(a) an admission as to the amount of, basis for, or validity of any claim against the Debtors under

the Bankruptcy Code or other applicable nonbankruptcy law; (b) a waiver of the Debtors’ or any

other party in interest’s right to dispute any claim on any grounds; (c) a promise or requirement to

pay any particular claim; (d) an implication, admission or finding that any particular claim is an

administrative expense claim, other priority claim or otherwise of a type specified or defined in

this motion or any order granting the relief requested by this motion; (e) a request or authorization

to assume, adopt, or reject any agreement, contract, or lease pursuant to section 365 of the

Bankruptcy Code; (f) an admission as to the validity, priority, enforceability or perfection of any

lien on, security interest in, or other encumbrance on property of the Debtors’ estates; or (g) a

waiver or limitation of any claims, causes of action or other rights of the Debtors or any other party

in interest against any person or entity under the Bankruptcy Code or any other applicable law.

                                         No Prior Request

       36.     No prior request for the relief sought in this motion has been made to this or any

other court.




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                                               Notice

       37.       The Debtors will provide notice of this motion to the following parties and/or their

respective counsel, as applicable: (a) the office of the United States Trustee for the District of

New Jersey; (b) the Debtors’ 50 largest unsecured creditors (on a consolidated basis);

(c) the agents under the Prepetition Credit Facilities and counsel thereto; (d) the DIP Agents and

counsel thereto; (e) Paul, Weiss, Rifkind, Wharton & Garrison LLP and Fox Rothschild LLP, as

counsel to the Ad Hoc Secured Noteholder Group; (f) the indenture trustees for the Senior Secured

Notes; (g) the indenture trustee for the Senior Unsecured Notes; (h) the United States Attorney’s

Office for the District of New Jersey; (i) the Internal Revenue Service; (j) the U.S. Securities and

Exchange Commission; (k) the attorneys general in the states where the Debtors conduct their

business operations; and (l) any party that has requested notice pursuant to Bankruptcy Rule 2002.

The Debtors submit that, in light of the nature of the relief requested, no other or further notice

need be given.




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        WHEREFORE, the Debtors respectfully request that the Court enter the Order,

 substantially in the form attached hereto as Exhibit A, (a) granting the relief requested herein and

 (b) granting such other relief as is just and proper.

Dated: October 16, 2023
                                                 /s/ Michael D. Sirota
                                                 COLE SCHOTZ P.C.
                                                 Michael D. Sirota, Esq.
                                                 Warren A. Usatine, Esq.
                                                 Felice R. Yudkin, Esq.
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                                                 601 Lexington Avenue
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                                                 Proposed Co-Counsel to the Debtors and
                                                 Debtors in Possession
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                                     Exhibit A

                                  Proposed Order
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Debtors:                     RITE AID CORPORATION, et al.
Case No.                     23-18993 (MBK)
Caption of Order:            Order Seeking Entry of an Order (I) Authorizing and Approving Procedures
                             to Reject or Assume Executory Contracts and Unexpired Leases, and
                             (II) Granting Related Relief

    UNITED STATES BANKRUPTCY COURT
    DISTRICT OF NEW JERSEY

    Caption in Compliance with D.N.J. LBR 9004-1(b)
    KIRKLAND & ELLIS LLP
    KIRKLAND & ELLIS INTERNATIONAL LLP
    Edward O. Sassower, P.C.
    Joshua A. Sussberg, P.C. (pro hac vice pending)
    Aparna Yenamandra, P.C. (pro hac vice pending)
    Ross J. Fiedler (pro hac vice pending)
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    Proposed Co-Counsel to the Debtors and Debtors in Possession


    In re:                                                             Chapter 11

    RITE AID COPORATION, et al.,                                       Case No. 23-18993 (MBK)

                                       Debtors. 1                      (Joint Administration Requested)


1      The last four digits of Debtor Rite Aid Corporation’s tax identification number are 4034. A complete list of the
       Debtors in these chapter 11 cases and each such Debtor’s tax identification number may be obtained on the
       website of the Debtors’ proposed claims and noticing agent at https://restructuring.ra.kroll.com/RiteAid.
       The location of Debtor Rite Aid Corporation’s principal place of business and the Debtors’ service address in
                                                                                                         (Continued)
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                   ORDER (I) AUTHORIZING AND
     APPROVING PROCEDURES TO REJECT OR ASSUME EXECUTORY
 CONTRACTS AND UNEXPIRED LEASES AND (II) GRANTING RELATED RELIEF

       The relief set forth on the following pages, numbered four (4) through twelve (12), is

ORDERED.




   these chapter 11 cases is 1200 Intrepid Avenue, 2nd Floor, Philadelphia, Pennsylvania 19112.



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Debtors:                  RITE AID CORPORATION, et al.
Case No.                  23-18993 (MBK)
Caption of Order:         Order (I) Authorizing and Approving Procedures to Reject or Assume
                          Executory Contracts and Unexpired Leases and (II) Granting Related Relief

        Upon the Debtors’ Motion for Entry of an Order (I) Authorizing and Approving Procedures

to Reject or Assume Executory Contracts and Unexpired Leases and (II) Granting Related Relief

(the “Motion”), 1 of the above-captioned debtors and debtors in possession (collectively,

the “Debtors”), for entry of an order (this “Order”) (a) authorizing and approving procedures

(as described in the Motion, the “Contract Procedures”) for rejecting, assuming, or assuming and

assigning executory contracts and unexpired leases and (b) granting related relief, all as more fully

set forth in the Motion; and upon the First Day Declaration; and the Court having jurisdiction to

consider the Motion and the relief requested therein pursuant to 28 U.S.C. §§ 157 and 1334 and

the Standing Order of Reference to the Bankruptcy Court Under Title 11 of the United States

District Court for the District of New Jersey, entered July 23, 1984, and amended on September 18,

2012 (Simandle, C.J.); and this Court having found that venue of this proceeding and the Motion

in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having found that

the relief requested in the Motion is in the best interests of the Debtors’ estates, their creditors, and

other parties in interest; and this Court having found that the Debtors’ notice of the Motion was

appropriate under the circumstances and no other notice need be provided; and this Court having

reviewed the Motion and having heard the statements in support of the relief requested therein at

a hearing before this Court (the “Hearing”); and this Court having determined that the legal and

factual bases set forth in the Motion establish just cause for the relief granted herein; and upon all

of the proceedings had before the Court and after due deliberation and sufficient cause appearing

therefor IT IS HEREBY ORDERED THAT:



1   Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.



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Debtors:             RITE AID CORPORATION, et al.
Case No.             23-18993 (MBK)
Caption of Order:    Order (I) Authorizing and Approving Procedures to Reject or Assume
                     Executory Contracts and Unexpired Leases and (II) Granting Related Relief

       1.     The Motion is GRANTED on a basis as set forth herein.

       2.     The following Rejection Procedures are approved in connection with rejecting

Contracts:

              a.     Rejection Notice. The Debtors, upon not less than three business days’
                     advance notice to counsel to the Ad Hoc Secured Noteholder Group, absent
                     exigent circumstances that require shorter notice in the Debtors’ reasonable
                     discretion, shall file a notice substantially in the form attached to this Order
                     as Exhibit 1 (the “Rejection Notice”) indicating the Debtors’ intent to reject
                     a Contract or Contracts pursuant to section 365 of the Bankruptcy Code,
                     which Rejection Notice shall set forth, among other things: (i) the Contract
                     or Contracts to be rejected; (ii) the names and addresses of the
                     counterparties to such Contract(s) (each a “Rejection Counterparty”);
                     (iii) the proposed effective date of the rejection for each such Contract (each
                     a “Rejection Date”); (iv) if any such Contract is a lease, the personal
                     property to be abandoned (the “Abandoned Property”), if any, and if
                     practicable an estimate of the book value of such property; and
                     (v) the deadlines and procedures for filing objections to the Rejection
                     Notice (as set forth below). The Rejection Notice may list multiple
                     Contracts; provided that the number of counterparties to Contracts listed on
                     the Rejection Notice shall be limited to no more than 100 and the Rejection
                     Counterparties shall be listed in alphabetical order.

              b.     Service of the Rejection Notice. No later than two business days after
                     filing, or as soon as reasonably practicable thereafter, the Debtors will cause
                     the Rejection Notice to be served (i) by overnight delivery service upon the
                     Rejection Counterparties affected by the Rejection Notice at the notice
                     address provided in the applicable Contract (and their counsel, if known)
                     and all parties who may have any interest in any Abandoned Property (if
                     known), and (ii) by first class mail, email, or fax upon: (a) the office of the
                     United States Trustee for the District of New Jersey; (b) the Debtors’ 50
                     largest unsecured creditors (on a consolidated basis); (c) the agents under
                     the Prepetition Credit Facilities and counsel thereto; (d) the DIP Agents and
                     counsel thereto; (e) counsel to the Ad Hoc Secured Noteholder Group;
                     (f) the indenture trustee to the Senior Secured Notes; (g) the indenture
                     trustee to the Senior Unsecured Notes; (h) the United States Attorney’s
                     Office for the District of New Jersey; (i) the Internal Revenue Service;
                     (j) the U.S. Securities and Exchange Commission; (k) the attorneys general
                     in the states where the Debtors conduct their business operations;
                     (l) the parties affected by the Rejection Notice at the notice party provided
                     in the applicable Contract (and by email upon such Rejection


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Debtors:                 RITE AID CORPORATION, et al.
Case No.                 23-18993 (MBK)
Caption of Order:        Order (I) Authorizing and Approving Procedures to Reject or Assume
                         Executory Contracts and Unexpired Leases and (II) Granting Related Relief

                         Counterparty’s counsel, if known); and (m) any party that has requested
                         notice pursuant to Bankruptcy Rule 2002 (collectively, the “Service
                         Parties”).

                 c.      Objection Procedures. Parties objecting to a proposed rejection must file
                         and serve a written objection 2 so that such objection is filed with the Court
                         and actually received by the following parties (collectively, the “Objection
                         Service Parties”) no later than seven days after the date the Debtors serve
                         the applicable Rejection Notice (the “Rejection Objection Deadline”):
                         (a) the Debtors, Rite Aid Corporation, 1200 Intrepid Avenue, 2nd Floor,
                         Philadelphia, Pennsylvania 19112; (b) proposed counsel to the Debtors,
                         Kirkland & Ellis LLP, 601 Lexington Avenue, New York, New York
                         10022, Attn: Joshua A. Sussberg, P.C., Aparna Yenamandra, P.C., Ross J.
                         Fiedler, and Zachary R. Manning; (c) proposed co-counsel to the Debtors,
                         Cole Schotz P.C., Court Plaza North, 25 Main Street; Hackensack, New
                         Jersey 07601, Attn: Michael D. Sirota, Felice R. Yudkin, and Seth Van
                         Aalten; (d) counsel to the Ad Hoc Secured Noteholder Group, Paul, Weiss,
                         Rifkind, Wharton & Garrison LLP, 1285 Avenue of the Americas, New
                         York, New York 10014, Attn: Andrew N. Rosenberg, Brian S. Hermann,
                         and Christopher Hopkins; (e) counsel to the Ad Hoc Secured Noteholder
                         Group, Fox Rothschild LLP, 49 Market Street, Morristown, New Jersey
                         07960, Attn: Howard A. Cohen (hcohen@foxrothschild.com); Joseph J.
                         DiPasquale (jdipasquale@foxrothschild.com) and Michael R. Herz
                         (mherz@foxrothschild.com); (f) counsel to the DIP Agents, Choate, Hall &
                         Stewart LLP, Two International Place, Boston, MA 02110, Attn: John F.
                         Ventola        (jventola@choate.com);        Jonathan        D.       Marshall
                         (jmarshall@choate.com); and Mark D. Silva (msilva@choate.com) and
                         Greenberg Traurig, LLP, 500 Campus Drive, Suite 400, Florham Park, New
                         Jersey 07932, Attn: Alan J. Brody (brodya@gtlaw.com) and Oscar N.
                         Pinkas (pinkaso@gtlaw.com) (g) the Office of the United States Trustee for
                         the District of New Jersey, One Newark Center, 1085 Raymond Boulevard,
                         suite 2100, Newark, New Jersey 07102, Attn:                  Lauren Bielskie
                         (lauren.bielskie@usdoj.gov); and (h) counsel to the official committee of
                         unsecured creditors (if any) appointed in these chapter 11 cases
                         (collectively, the “Objection Service Parties”).

                 d.      No Objection Timely Filed. If no objection to the rejection of any Contract
                         is timely filed, each Contract listed in the applicable Rejection Notice shall
                         be rejected as of the applicable Rejection Date set forth in the Rejection
                         Notice or such other date as the Debtors and the applicable Rejection

2   An objection to the rejection of any particular Contract listed on a Rejection Notice shall not constitute an
    objection to the rejection of any other Contract listed on such Rejection Notice.



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                    Counterparty agree; provided that the Rejection Date for a rejection of a
                    lease of nonresidential real property shall not occur until the later of
                    (i) the Rejection Date set forth in the Rejection Notice and (ii) the date the
                    Debtors relinquish control of the premises by notifying the affected landlord
                    in writing of the Debtors’ surrender of the premises and (A) turning over
                    keys, key codes, and security codes, if any, to the affected landlord or
                    (B) notifying the affected landlord in writing that the keys, key codes, and
                    security codes, if any, are not available, but the landlord may rekey the
                    leased premises; provided, further, that the Rejection Date for a rejection of
                    a lease of nonresidential real property rejected pursuant to these Rejection
                    Procedures shall not occur earlier than the date the Debtors filed and served
                    the applicable Rejection Notice.

              e.    Unresolved Timely Objections. If an objection to the rejection of any
                    Contract(s) listed in the applicable Rejection Notice is timely filed and
                    properly served as specified above and not withdrawn or consensually
                    resolved, the Debtors shall file a notice for a hearing to be held on not less
                    than five days’ notice to the applicable Rejection Counterparty to consider
                    the objection for the Contract(s) to which such objection relates. If such
                    objection is overruled or withdrawn, such Contract(s) shall be rejected as of
                    (i) the applicable Rejection Date set forth in the Rejection Notice,
                    (ii) such other date as the Debtors and the applicable Rejection
                    Counterparty agree, or (iii) such other date as the Court may so order.

              f.    No Application of Security Deposits. If the Debtors have deposited monies
                    with a Rejection Counterparty as a security deposit or other arrangement,
                    such Rejection Counterparty may not setoff, recoup, or otherwise use such
                    monies without further order of the Court, unless the Debtors and the
                    applicable Rejection Counterparty to such Contract(s) otherwise agree.

              g.    Abandoned Property. The Debtors are authorized, but not directed, at any
                    time on or before the applicable Rejection Date, to remove or abandon any
                    of the Debtors’ personal property that may be located on the Debtors’ leased
                    premises that are subject to a rejected Contract. If the Debtors decide to
                    abandon any personal property, the Debtors shall generally describe the
                    abandoned personal property in the Rejection Notice. Absent a timely
                    objection, the property will be deemed abandoned pursuant to section 554
                    of the Bankruptcy Code, as is, effective as of the Rejection Date. For the
                    avoidance of doubt, any and all property located on the Debtors’ leased
                    premises on the Rejection Date of the applicable lease of nonresidential real
                    property shall be deemed abandoned pursuant to section 554 of the
                    Bankruptcy Code, as is, effective as of the Rejection Date. Landlords may,
                    in their sole discretion and without further notice or order of this Court,



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                      utilize and/or dispose of such property without liability to the Debtors or
                      third parties and, to the extent applicable, the automatic stay is modified to
                      allow such disposition.

               h.     Proofs of Claim. Claims arising out of the rejection of Contracts, if any,
                      must be filed in accordance with the Plan on or before the later of
                      (i) the deadline for filing proofs of claim established in these chapter 11
                      cases, if any, and (ii) thirty days after the later of (A) if no objection is timely
                      filed, the Rejection Objection Deadline, and (B) if an objection is timely
                      filed, the date that all such filed objections have either been overruled or
                      withdrawn. If no proof of claim is timely filed, such claimant shall be
                      forever barred from asserting a claim for damages arising from the rejection
                      and from participating in any distributions on such a claim that may be made
                      in connection with these chapter 11 cases.

               i.     Removal from the Rejection Notice. The Debtors reserve the right to
                      remove any Contract from the schedule to a Rejection Notice at any time
                      prior to the Rejection Date.

       3.      Modification of Rejection Notice. The Debtors reserve the right to remove any

Contract from the schedule to a Rejection Notice at any time prior to the Rejection Date. Approval

of the Rejection Procedures and this Order will not prevent the Debtors from seeking to reject a

Contract by separate motion or pursuant to a chapter 11 plan.

       4.      The following Assumption Procedures are approved in connection with assuming

and assuming and assigning Contracts:

               a.     Assumption Notice. The Debtors, upon not less than three business days’
                      advance notice to counsel to the Ad Hoc Secured Noteholder Group, absent
                      exigent circumstances that require shorter notice in the Debtors’ reasonable
                      discretion, shall file a notice substantially in the form attached hereto as
                      Exhibit 2 (the “Assumption Notice”) indicating the Debtors’ intent to
                      assume or assume and assign a Contract or Contracts pursuant to section
                      365 of the Bankruptcy Code, which shall set forth, among other things:
                      (i) the Contract or Contracts to be assumed or assumed and assigned;
                      (ii) the names and addresses of the counterparties to such Contract(s) (each
                      an “Assumption Counterparty”); (iii) the identity of the proposed assignee
                      of such Contracts (the “Assignee”), if applicable; (iv) the proposed effective
                      date of the assumption for each such Contract (the “Assumption Date”);



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                          (v) the proposed cure amount, if any, for each such Contract;
                          (vi) a description of any material amendments to the Contract made outside
                          of the ordinary course of business; and (vii) the deadlines and procedures
                          for filing objections to the Assumption Notice (as set forth below). The
                          Assumption Notice may list multiple Contracts; provided that the number
                          of counterparties to Contracts listed on the Assumption Notice shall be
                          limited to no more than 100 and the Assumption Counterparties shall be
                          listed in alphabetical order.

                 b.       Service of the Assumption Notice and Evidence of Adequate Assurance.
                          No later than two business days after filing, or as soon as reasonably
                          practicable thereafter, the Debtors will cause the Assumption Notice to be
                          served (i) by overnight delivery service upon the Assumption
                          Counterparties affected by the Assumption Notice and each Assignee, if
                          applicable, at the address set forth in the notice provision of the applicable
                          Contract (and their counsel, if known) and (ii) by first class mail, email, or
                          fax upon the Service Parties. 3 To the extent the Debtors seek to assume and
                          assign a lease of non-residential real property, the Debtors will cause
                          evidence of adequate assurance of future performance to be served with the
                          Assumption Notice by overnight delivery service upon the Contract
                          counterparties affected by the Assumption Notice at the address set forth in
                          the notice provision of the applicable Contract (and their counsel, if known,
                          by electronic mail).

                 c.       Objection Procedures. Parties objecting to a proposed assumption or
                          assumption and assignment (including as to the cure amount), as applicable,
                          of a Contract must file and serve a written objection 4 so that such objection
                          is filed with the Court and actually received by the Objection Service
                          Parties no later than seven days after the date the Debtors serve the relevant
                          Assumption Notice (the “Assumption Objection Deadline”).

                 d.       No Objection. If no objection to the assumption or assumption and
                          assignment of any Contract is timely filed, each Contract shall be assumed
                          or assumed and assigned as of the Assumption Date set forth in the
                          applicable Assumption Notice or such other date as the Debtors and the
                          Assumption Counterparties agree and the proposed cure amount shall be
                          binding on all counterparties to such Contract and no amount in excess

3
    The Debtors shall serve a counterparty to a Contract to be assumed under the Contract Procedures with evidence
    of adequate assurance upon such counterparty’s written request to the Debtors’ counsel.

4   An objection to the assumption of any particular Contract listed on the Assumption Notice shall not constitute an
    objection to the assumption of any other Contract listed on such Assumption Notice.



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                       thereof shall be paid for cure purposes; provided that the Assumption Date
                       for a lease of nonresidential real property shall not occur earlier than the
                       date the Debtors filed and served the applicable Assumption Notice.

               e.      Unresolved Timely Objections. If an objection to the assumption or
                       assumption and assignment of any Contract(s) is timely filed and properly
                       served as specified above and not withdrawn or consensually resolved, the
                       Debtors shall file a notice for a hearing to be held on not less than five days’
                       notice to the applicable Assumption Counterparty to consider the objection
                       for the Contract(s) to which such objection relates. The Debtors may
                       adjourn the hearing to a later date from time to time upon filing an amended
                       notice of hearing. If such objection is overruled or withdrawn, such
                       Contract(s) shall be assumed or assumed and assigned as of the Assumption
                       Date set forth in the Assumption Notice or such other date as the Debtors
                       and the counterparty or counterparties to such Contract(s) agree.

               f.      Modifications of Assumption Notice. The Debtors reserve the right to
                       remove any Contract from an Assumption Notice at any time prior to the
                       Assumption Date (including, without limitation, upon the failure of any
                       proposed assumption and assignment to close).

       5.      With regard to Contracts to be assigned, pursuant to sections 105(a) and 363(f) of

the Bankruptcy Code, the assignment of any Contract shall: (a) be free and clear of (i) all liens

(and any liens shall attach to the proceeds of such assignment in the same order and priority subject

to all existing defenses, claims, setoffs, and rights) and (ii) any and all claims (as that term is

defined in section 101(5) of the Bankruptcy Code), obligations, demands, guarantees of or by the

Debtors, debts, rights, contractual commitments, restrictions, interests, and matters of any kind

and nature, whether arising prior to or subsequent to the commencement of these chapter 11 cases,

and whether imposed by agreement, understanding, law, equity, or otherwise (including, without

limitation, claims, and encumbrances that purport to give to any party a right or option to effect

any forfeiture, modification, or termination of the interest of any Debtor or Assignee, as the case

may be, in the Contract(s) (but only in connection with the assignment by the Debtor to the




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Assignee)); and (b) constitute a legal, valid, and effective transfer of such Contract(s) and vest the

applicable Assignee with all rights, titles, and interests to the applicable Contract(s). 5 For the

avoidance of doubt, all provisions of the applicable assigned Contract, including any provision

limiting assignment, shall be binding on the applicable Assignee.

        6.       Subject to the other provisions of this Order (including the aforementioned

Assumption Procedures), the Debtors are hereby authorized in accordance with sections 365(b)

and (f) of the Bankruptcy Code to (a) assume and assign to any Assignee the applicable Contracts

with any applicable Assignee being responsible only for the post-assignment liabilities or defaults

under the applicable Contracts except as otherwise provided for in this Order and (b) execute and

deliver to any applicable Assignee such assignment documents as may be reasonably necessary to

sell, assign, and transfer any such Contract.

        7.       The Debtors’ right to assert that any provisions in the Contract that expressly or

effectively restrict, prohibit, condition, or limit the assignment of or the effectiveness of the

Contract to an Assignee are unenforceable anti-assignment or ipso facto clauses is fully reserved.

        8.       The Assignee shall have no liability or obligation with respect to defaults relating

to the assigned Contracts arising, accruing, or relating to a period prior to the applicable

Assumption Date.

        9.       The Debtors are hereby authorized, pursuant to section 363(b) of the Bankruptcy

Code, to enter into the consensual amendments as set forth in an Assumption Notice.




5   Certain of the Contracts may contain provisions that restrict, prohibit, condition, or limit the assumption and/or
    assignment of such Contract. The Debtors reserve all rights with respect to the enforceability of such provisions.



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       10.     Approval of the Contract Procedures and this Order will not prevent the Debtors

from seeking to reject, assume, or assume and assign a Contract by separate motion.

       11.     The 14-day stay required of any assignment of any Contract pursuant to Bankruptcy

Rule 6006(d) is hereby waived.

       12.     All rights and defenses of the Debtors are preserved, including all rights and

defenses of the Debtors with respect to a claim for damages arising as a result of a Contract

rejection, including any right to assert an offset, recoupment, counterclaim, or deduction. In

addition, nothing in this Order or the Motion shall limit the Debtors’ ability to subsequently assert

that any particular Contract is expired or terminated and is no longer an executory contract or

unexpired lease, respectively.

       13.     Notwithstanding the relief granted in this Order and any actions taken pursuant to

such relief, nothing in this Order shall be deemed: (a) an admission as to the amount of, basis for,

or validity of any claim against a Debtor entity under the Bankruptcy Code or other applicable

nonbankruptcy law; (b) a waiver of the Debtors’ or any other party in interest’s right to dispute

any claim on any grounds; (c) a promise or requirement to pay any claim; (d) an implication or

admission that any particular claim is of a type specified or defined in the Motion or this Order or

a finding that any particular claim is an administrative expense claim or other priority claim;

(e) a request or authorization to assume, adopt, or reject any agreement, contract, or lease pursuant

to section 365 of the Bankruptcy Code; (f) an admission as to the validity, priority, enforceability,

or perfection of any lien on, security interest in, or other encumbrance on property of the Debtors’

estates; (g) a waiver or limitation of the Debtors’ or any other party in interest’s rights under

the Bankruptcy Code or any other applicable law; or (h) a concession by the Debtors that any liens


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(contractual, common law, statutory, or otherwise) that may be satisfied pursuant to the relief

authorized in this Order are valid, and the rights of all parties in interest are expressly reserved to

contest the extent, validity, or perfection or seek avoidance of all such liens.

       14.     Notwithstanding anything to the contrary in the Motion or this Order, any payment

made by the Debtors pursuant to the authority granted in this Order must be in compliance with

and any authorization of the Debtors contained herein is subject to: (a) any interim or final orders

entered by the Court approving the Debtors’ entry into any postpetition debtor-in-possession

financing facility and/or authorizing the use of cash collateral; (b) the documentation in respect of

any such debtor-in-possession financing or use of cash collateral; and (c) any budget or cash flow

forecasts in connection therewith (in each case, the “DIP Order”).

       15.     Notice of the Motion satisfies the requirements of Bankruptcy Rule 6004(a) and the

Local Rules are satisfied by such notice.

       16.     The requirement set forth in Local Rule 9013 1(a)(3) that any motion be

accompanied by a memorandum of law is hereby deemed satisfied by the contents of the Motion

or otherwise waived.

       17.     Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Order

are immediately effective and enforceable upon its entry.

       18.     The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Order in accordance with the Motion.

       19.     This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.




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                                      Exhibit 1

                              Proposed Rejection Notice
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    KIRKLAND & ELLIS LLP                                     COLE SCHOTZ P.C.
    KIRKLAND & ELLIS INTERNATIONAL LLP                       Michael D. Sirota, Esq.
    Edward O. Sassower, P.C.                                 Warren A. Usatine, Esq.
    Joshua A. Sussberg, P.C. (pro hac vice pending)          Felice R. Yudkin, Esq.
    Aparna Yenamandra, P.C. (pro hac vice pending)           Seth Van Aalten, Esq. (pro hac vice pending)
    Ross J. Fiedler (pro hac vice pending)                   Court Plaza North, 25 Main Street
    Zachary R. Manning (pro hac vice pending)                Hackensack, New Jersey 07601
    601 Lexington Avenue                                     Telephone: (201) 489-3000
    New York, New York 10022
                                                             msirota@coleschotz.com
    Telephone: (212) 446-4800
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    aparna.yenamandra@kirkland.com
    ross.fiedler@kirkland.com
    zach.manning@kirkland.com                                Proposed Co-Counsel to the Debtors and
                                                             Debtors in Possession

    Proposed Co-Counsel to the Debtors and
    Debtors in Possession


                                   UNITED STATES BANKRUPTCY COURT
                                        DISTRICT OF NEW JERSEY


In re:                                                        Chapter 11

RITE AID CORPORATION, et al.,                                 Case No. 23-18993 (MBK)

                                     Debtors. 1               (Joint Administration Requested)



                           NOTICE OF REJECTION OF
            CERTAIN EXECUTORY CONTRACTS AND/OR UNEXPIRED LEASES

PARTIES RECEIVING THIS NOTICE SHOULD LOCATE THEIR NAMES AND THEIR
CONTRACTS OR LEASES ON SCHEDULE 1 ATTACHED HERETO AND READ THE
CONTENTS OF THIS NOTICE CAREFULLY.




1     The last four digits of Debtor Rite Aid Corporation’s tax identification number are 4034. A complete list of the
      Debtors in these chapter 11 cases and each such Debtor’s tax identification number may be obtained on the
      website of the Debtors’ proposed claims and noticing agent at https://restructuring.ra.kroll.com/RiteAid.
      The location of Debtor Rite Aid Corporation’s principal place of business and the Debtors’ service address in
      these chapter 11 cases is 1200 Intrepid Avenue, 2nd Floor, Philadelphia, Pennsylvania 19112.
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         PLEASE TAKE NOTICE that on [____________], 2023, the United States Bankruptcy

Court for the District of New Jersey (the “Court”) entered an order on the motion (the “Motion”) 2

of debtors and debtors in possession (the “Debtors”) (i) authorizing and approving procedures to

reject, assume, or assume and assign executory contracts and unexpired leases and (ii) granting

related relief [Docket No. ____] (the “Procedures Order”).

         PLEASE TAKE FURTHER NOTICE that, pursuant to the Procedures Order and by this

written notice (this “Rejection Notice”), the Debtors hereby notify you that they have determined,

in the exercise of their business judgment, that each Contract set forth on Schedule 1 attached

hereto is hereby rejected effective as of the date (the “Rejection Date”) set forth on Schedule 1, or

such other date to which the Debtors and the counterparty or counterparties to any such Contract

agree.

         PLEASE TAKE FURTHER NOTICE that parties seeking to object to the proposed

rejection of any of the Contracts must file and serve a written objection so that such objection is

filed with the Court on the docket of the Debtors’ chapter 11 cases and is actually received by the

following parties no later than seven days after the date that the Debtors served this Notice:

(a) the Debtors, Rite Aid Corporation, 1200 Intrepid Avenue, 2nd Floor, Philadelphia,

Pennsylvania 19112; (b) proposed counsel to the Debtors, Kirkland & Ellis LLP, 601 Lexington

Avenue, New York, New York 10022, Attn: Joshua A. Sussberg, P.C., Aparna Yenamandra, P.C.,

Ross J. Fiedler, and Zachary R. Manning; (c) proposed co-counsel to the Debtors, Cole Schotz

P.C., Court Plaza North, 25 Main Street; Hackensack, New Jersey 07601, Attn: Michael D. Sirota,

Felice R. Yudkin, and Seth Van Aalten; (d) counsel to the Ad Hoc Secured Noteholder Group,

Paul, Weiss, Rifkind, Wharton & Garrison LLP, 1285 Avenue of the Americas, New York, New


2   Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.


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York 1001 Attn.:         Andrew N. Rosenberg (arosenberg@paulweiss.com), Brian S. Hermann

(bhermann@paulweiss.com) and Christopher Hopkins (chopkins@paulweiss.com); (e) counsel to

the Ad Hoc Secured Noteholder Group, Fox Rothschild LLP, 49 Market Street, Morristown, New

Jersey, 07960, Attn: Howard A. Cohen (hcohen@foxrothschild.com); Joseph J. DiPasquale

(jdipasquale@foxrothschild.com) and Michael R. Herz (mherz@foxrothschild.com); (f) counsel

to the DIP Agents, Choate, Hall & Stewart LLP, Two International Place, Boston, MA 02110,

Attn: John F. Ventola (jventola@choate.com); Jonathan D. Marshall (jmarshall@choate.com);

and Mark D. Silva (msilva@choate.com) and Greenberg Traurig, LLP, 500 Campus Drive, Suite

400, Florham Park, New Jersey 07932, Attn: Alan J. Brody (brodya@gtlaw.com) and Oscar N.

Pinkas (pinkaso@gtlaw.com) (g) the Office of the United States Trustee for the District of New

Jersey, One Newark Center, 1085 Raymond Boulevard, suite 2100, Newark, New Jersey 07102,

Attn: Lauren Bielskie (lauren.bielskie@usdoj.gov); and (h) counsel to the official committee of

unsecured creditors (if any) appointed in these chapter 11 cases.

        PLEASE TAKE FURTHER NOTICE that, absent an objection being timely filed, the

rejection of each Contract shall become effective on the applicable Rejection Date set forth on

Schedule 1 or such other date to which the Debtors and the counterparty or counterparties to such

Contract agree. 3

        PLEASE TAKE FURTHER NOTICE that, if an objection to the rejection of any

Contract is timely filed and not withdrawn or resolved, the Debtors shall file a notice for a hearing

to consider the objection for the Contract or Contracts to which such objection relates. If such



3   An objection to the rejection of any particular Contract listed in this Rejection Notice shall not constitute an
    objection to the rejection of any other contract or lease listed in this Rejection Notice. Any objection to the
    rejection of any particular Contract listed in this Rejection must state with specificity the Contract to which it is
    directed. For each particular Contract whose rejection is not timely or properly objected to, such rejection will
    be effective in accordance with this Rejection Notice and the Order.


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objection is overruled or withdrawn, such Contract or Contracts shall be rejected as of the

applicable Rejection Date set forth on Schedule 1 or such other date to which the Debtors and the

counterparty or counterparties to any such Contract agree.

       PLEASE TAKE FURTHER NOTICE that, pursuant to the terms of the Procedures

Order, if the Debtors have deposited monies with a Contract counterparty as a security deposit or

other arrangement, the Contract counterparty may not set off or recoup or otherwise use such

monies without further order of the Court, unless the Debtors and the counterparty or

counterparties to such Contracts otherwise agree.

       PLEASE TAKE FURTHER NOTICE that, absent timely objection, any personal

property of the Debtors that is listed and described on Schedule 1 shall be deemed abandoned as

of the Rejection Date.

       PLEASE TAKE FURTHER NOTICE that, to the extent you wish to assert a claim with

respect to rejection of your Contract or Contracts, you must do so on or before the later of

(a) the deadline for filing proofs of claim established in these chapter 11 cases, if any, and,

(b) thirty days after the later of (A) if no objection is timely filed, the Rejection Objection

Deadline, and (B) if any objection is timely filed, the date that all such filed objections have either

been overruled or withdrawn. IF YOU FAIL TO TIMELY SUBMIT A PROOF OF CLAIM IN

THE APPROPRIATE FORM BY THE DEADLINE SET FORTH HEREIN, YOU WILL BE

FOREVER BARRED, ESTOPPED, AND ENJOINED FROM (1) ASSERTING SUCH CLAIM

AGAINST ANY OF THE DEBTORS AND THEIR CHAPTER 11 ESTATES, (2) VOTING ON

ANY CHAPTER 11 PLAN OF REORGANIZATION FILED IN THESE CASES ON ACCOUNT

OF SUCH CLAIM, AND (3) PARTICIPATING IN ANY DISTRIBUTION IN THE DEBTORS’

CHAPTER 11 CASES ON ACCOUNT OF SUCH CLAIM.


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Dated: [_____], 2023
                                          /s/ DRAFT
                                          COLE SCHOTZ P.C.
                                          Michael D. Sirota, Esq.
                                          Warren A. Usatine, Esq.
                                          Felice R. Yudkin, Esq.
                                          Seth Van Aalten, Esq. (pro hac vice pending)
                                          Court Plaza North, 25 Main Street
                                          Hackensack, New Jersey 07601
                                          Telephone: (201) 489-3000
                                          Email:      msirota@coleschotz.com
                                                      wusatine@coleschotz.com
                                                      fyudkin@coleschotz.com
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                                          KIRKLAND & ELLIS LLP
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                                          Debtors in Possession
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                                                    Schedule 1

                                              Rejected Contracts 1

       Rejection                    Description of               Abandoned
      Counterparty                   Contract 2                   Property                   Rejection Date




1   For the avoidance of doubt, the Contracts referenced herein include any ancillary documents, including guaranties
    or assignments thereof, and any amendments, modifications, subleases, or termination agreements related thereto.
2   The inclusion of a Contract on this list does not constitute an admission as to the executory or non-executory
    nature of the Contract, or as to the existence or validity of any claims held by the counterparty or counterparties
    to such Contract.
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                                     Exhibit 2

                             Proposed Assumption Notice
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    KIRKLAND & ELLIS INTERNATIONAL LLP                       Michael D. Sirota, Esq.
    Edward O. Sassower, P.C.                                 Warren A. Usatine, Esq.
    Joshua A. Sussberg, P.C. (pro hac vice pending)          Felice R. Yudkin, Esq.
    Aparna Yenamandra, P.C. (pro hac vice pending)           Seth Van Aalten, Esq. (pro hac vice pending)
    Ross J. Fiedler (pro hac vice pending)                   Court Plaza North, 25 Main Street
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                                                             Debtors in Possession

    Proposed Co-Counsel to the Debtors and
    Debtors in Possession


                                   UNITED STATES BANKRUPTCY COURT
                                        DISTRICT OF NEW JERSEY


In re:                                                        Chapter 11

RITE AID CORPORATION, et al.,                                 Case No. 23-18993 (MBK)

                                     Debtors. 1               (Joint Administration Requested)



                          NOTICE OF ASSUMPTION OF
            CERTAIN EXECUTORY CONTRACTS AND/OR UNEXPIRED LEASES

PARTIES RECEIVING THIS NOTICE SHOULD LOCATE THEIR NAMES AND THEIR
CONTRACTS OR LEASES ON SCHEDULE 1 ATTACHED HERETO AND READ THE
CONTENTS OF THIS NOTICE CAREFULLY.




1     The last four digits of Debtor Rite Aid Corporation’s tax identification number are 4034. A complete list of the
      Debtors in these chapter 11 cases and each such Debtor’s tax identification number may be obtained on the
      website of the Debtors’ proposed claims and noticing agent at https://restructuring.ra.kroll.com/RiteAid.
      The location of Debtor Rite Aid Corporation’s principal place of business and the Debtors’ service address in
      these chapter 11 cases is 1200 Intrepid Avenue, 2nd Floor, Philadelphia, Pennsylvania 19112.
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        PLEASE TAKE NOTICE that on [____________], 2023, the United States Bankruptcy

Court for the District of New Jersey (the “Court”) entered an order on the motion (the “Motion”) 2

of debtors and debtors in possession (the “Debtors”) (i) authorizing and approving procedures to

reject, assume, or assume and assign executory contracts and unexpired leases and (ii) granting

related relief [Docket No. ____] (the “Procedures Order”).

        PLEASE TAKE FURTHER NOTICE that, pursuant to the Procedures Order and by this

written notice (this “Assumption Notice”), the Debtors hereby notify you that they have

determined, in the exercise of their business judgment, that each Contract set forth on Schedule 1

attached hereto is hereby assumed or assumed and assigned, as applicable, effective as of the date

(the “Assumption Date”) set forth on Schedule 1, or such other date as the Debtors and the

counterparty or counterparties to any such Contract agree.

        PLEASE TAKE FURTHER NOTICE that the Debtor or Assignee, as applicable, has

the financial wherewithal to meet all future obligations under the Contract, which may be

evidenced upon written request by the counterparty to the Contract, 3 thereby demonstrating that

the Debtor or Assignee, as applicable, has the ability to comply with the requirements of adequate

assurance of future performance. 4

        PLEASE TAKE FURTHER NOTICE that parties seeking to object to the proposed

assumption or assumption and assignment of any of the Contracts must file and serve a written

objection so that such objection is filed with the Court on the docket of the Debtors’ chapter 11


2   Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.
3   To the extent the Debtors seek to assume and assign a lease of non-residential real property, the Debtors will
    cause evidence of adequate assurance of future performance to be served with the Assumption Notice by overnight
    delivery upon the Assumption Counterparties affected by the Assumption Notice.
4   The Debtors shall serve the counterparty to the Contract with evidence of adequate assurance upon such
    counterparty’s written request to Debtors’ counsel.


                                                        2
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cases and is actually received by the following parties no later than ten days after the date that the

Debtors served this Notice:

       PLEASE TAKE FURTHER NOTICE that parties seeking to object to the proposed

assumption of any of the Contracts must file and serve a written objection so that such objection

is filed with the Court on the docket of the Debtors’ chapter 11 cases and is actually received by

the following parties no later than seven days after the date that the Debtors served this Notice:

(a) the Debtors, Rite Aid Corporation, 1200 Intrepid Avenue, 2nd Floor, Philadelphia,

Pennsylvania 19112; (b) proposed counsel to the Debtors, Kirkland & Ellis LLP, 601 Lexington

Avenue, New York, New York 10022, Attn: Joshua A. Sussberg, P.C., Aparna Yenamandra, P.C.,

Ross J. Fiedler, and Zachary R. Manning; (c) proposed co-counsel to the Debtors, Cole Schotz

P.C., Court Plaza North, 25 Main Street; Hackensack, New Jersey 07601, Attn: Michael D. Sirota,

Felice R. Yudkin, and Seth Van Aalten; (d) counsel to the Ad Hoc Secured Noteholder Group,

Paul, Weiss, Rifkind, Wharton & Garrison LLP, 1285 Avenue of the Americas, New York, New

York 10014 Attn.: Andrew N. Rosenberg (arosenberg@paulweiss.com), Brian S. Hermann

(bhermann@paulweiss.com) and Christopher Hopkins (chopkins@paulweiss.com); (e) counsel to

the Ad Hoc Secured Noteholder Group, Fox Rothschild LLP, 49 Market Street, Morristown, New

Jersey, 07960, Attn: Howard A. Cohen (hcohen@foxrothschild.com); Joseph J. DiPasquale

(jdipasquale@foxrothschild.com) and Michael R. Herz (mherz@foxrothschild.com); (f) counsel

to the DIP Agents, Choate, Hall & Stewart LLP, Two International Place, Boston, MA 02110,

Attn: John F. Ventola (jventola@choate.com); Jonathan D. Marshall (jmarshall@choate.com);

and Mark D. Silva (msilva@choate.com) and Greenberg Traurig, LLP, 500 Campus Drive, Suite

400, Florham Park, NJ 07932, Attn: Alan J. Brody (brodya@gtlaw.com) and Oscar N. Pinkas

(pinkaso@gtlaw.com) (g) the Office of the United States Trustee for the District of New Jersey,


                                                  3
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One Newark Center, 1085 Raymond Boulevard, suite 2100, Newark, New Jersey 07102,

Attn: Lauren Bielskie (lauren.bielskie@usdoj.gov); and (h) counsel to the official committee of

unsecured creditors (if any) appointed in these chapter 11 cases.

        PLEASE TAKE FURTHER NOTICE that, absent an objection being timely filed, the

assumption or assumption and assignment of each Contract shall become effective on the

applicable Assumption Date set forth on Schedule 1 or such other date to which the Debtors and

the counterparty or counterparties to such Contract agree. 5

        PLEASE TAKE FURTHER NOTICE that, the proposed cure amount under the Contract

is set forth on Schedule 1. If a written objection to the proposed cure amount is not timely filed,

then the cure amount shall be binding on all parties and no amount in excess thereof shall be paid

for cure purposes.

        PLEASE TAKE FURTHER NOTICE that if an objection to the assumption or

assumption and assignment of any Contract is timely filed and not withdrawn or resolved, the

Debtors shall file a notice for a hearing to consider the objection for the Contract or Contracts to

which such objection relates. If such objection is overruled or withdrawn, such Contract or

Contracts shall be assumed or assumed and assigned as of the Assumption Date set forth on

Schedule 1 or such other date as the Debtors and the counterparty or counterparties to such

Contract agree.




5   An objection to the assumption and/or assignment of any particular Contract or cure amount listed in this
    Assumption Notice shall not constitute an objection to the assumption and/or assignment of any other contract or
    lease listed in this Assumption Notice. Any objection to the assumption and/or assignment of any particular
    Contract or cure amount listed in this Assumption Notice must state with specificity the Contract to which it is
    directed. For each particular Contract whose assumption and/or assignment is not timely or properly objected to,
    such assumption and/or assignment will be effective in accordance with this Assumption Notice and the
    Procedures Order.


                                                         4
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Dated: [_____], 2023
                                          /s/ DRAFT
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                                          Michael D. Sirota, Esq.
                                          Warren A. Usatine, Esq.
                                          Felice R. Yudkin, Esq.
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                                                     Schedule 1

                                               Assumed Contracts



     Assumption                    Description of
    Counterparty                    Contract 1                        Cure Amount              Assumption Date




1    The inclusion of a Contract on this list does not constitute an admission as to the executory or non-executory
     nature of the Contract, or as to the existence or validity of any claims held by the counterparty or counterparties
     to such Contract.
